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              4                         UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS
              5                               EASTERN DIVISION
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              7
                    UNITED STATES OF AMERICA,              Case No. 1:09-cr-00673-1
              8
                        Plaintiff,                         Chicago, Illinois
              9                                            September 7, 2011
                        v.                                 Sentencing
            10
                    RON COLLINS,
            11
                    Defendant.
            12      ----------------------------
            13
                                         TRANSCRIPT OF SENTENCING
            14                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                UNITED STATES DISTRICT JUDGE, AND A JURY
            15
            16
            17    APPEARANCES:
            18
            19
                  For the Government:         Office of the U.S. Attorney
            20                                By: Halley B. Guren, and
                                                   Renai S. Rodney
            21                                219 S. Dearborn St., 5th Fl.
                                              Chicago, IL 60604
            22                                (312) 353-5300
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   3   APPEARANCES (Cont'd):
   4
   5
       For the Defendant:          Frank A. Rubino
   6                               1001 Brickell Bay Dr., Ste. 2206
                                   Miami, FL 33131
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   8
   9   Also present:               Jodi Halleran
                                   U.S. Probation Department
 10
 11
       COURT REPORTER:             FEDERAL OFFICIAL COURT REPORTER
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 25    produced by notereading.
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   1                                     I N D E X
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       DESCRIPTION                                                               PAGE
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         ALLOCUTION                                                               35
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   6     IMPOSITION OF SENTENCE                                                   35
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01:37:09      1               (Commenced at 1:37 p.m.)
01:37:09      2               THE CLERK: This is case 9CR673, USA versus Ron
01:37:13      3   Collins.
01:37:14      4               MS. GUREN: Good morning, your Honor. Renai Rodney
01:37:16      5   and Halley Guren -- good afternoon, your Honor.
01:37:17      6               THE COURT: Good afternoon.
01:37:18      7               MS. GUREN: Halley Guren and Renai Rodney on behalf
01:37:21      8   of the United States.
01:37:22      9               THE COURT: Good afternoon.
01:37:23    10                MS. RODNEY: Good afternoon, your Honor. Frank
01:37:24    11    Rubino on behalf of Mr. Ron Collins and --
01:37:24    12                THE COURT: Good afternoon.
01:37:24    13                MR. RUBINO: -- Mr. Collins is present in court
01:37:26    14    today.
01:37:27    15                THE COURT: Good afternoon, Mr. Rubino.
01:37:28    16                Good afternoon, Mr. Collins.
01:37:28    17                (No response.)
01:37:36    18                THE COURT: Okay, folks. Has everyone reviewed the
01:37:38    19    Presentence Investigation Report for the sentencing today?
01:37:41    20                MS. GUREN: Yes, your Honor.
01:37:41    21                THE COURT: And are we ready to proceed today?
01:37:43    22                MR. RUBINO: Yes, your Honor, we are.
01:37:44    23                MS. GUREN: Yes.
01:37:44    24                THE COURT: Okay. So first and foremost, I did
01:37:47    25    receive some objections from Mr. Collins regarding the report.
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01:37:50      1   But before we get to those legal objections, is there anything
01:37:56      2   factual that you would like to change, Ms. Guren, in the
01:37:58      3   report?
01:37:58      4               MS. GUREN: No, your Honor.
01:37:58      5               THE COURT: Okay. And how about you, Mr. Rubino,
01:38:02      6   anything factual?
01:38:03      7               MR. RUBINO: No, your Honor.
01:38:03      8               THE COURT: All right. Then I will adopt the report
01:38:05      9   as written, and we'll go through those guideline calculations,
01:38:08    10    as we must, and address some of the objections as we do that.
01:38:13    11                We'll start out with the base offense level. And the
01:38:19    12    Government's position and the probation officer's position is
01:38:24    13    that the defendant is accountable for more than 150 kilograms
01:38:28    14    of cocaine. And it's the Government's position that the trial
01:38:33    15    testimony established that there was at least 500 kilograms of
01:38:37    16    cocaine, which would give him a base offense level of 28 --
01:38:42    17    excuse me -- 38, pursuant to 2D1.1(a)(5).
01:38:47    18                And are you challenging that drug quantity?
01:38:49    19                MR. RUBINO: We did not in our written objections nor
01:38:52    20    do we now, your Honor.
01:38:53    21                THE COURT: Okay.
01:38:53    22                MR. RUBINO: We make simply one challenge to the
01:38:55    23    guidelines.
01:38:55    24                THE COURT: Okay. So then we do start with a base
01:38:58    25    offense level of 38, and that is based upon the trial
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01:39:04      1   testimony.
01:39:05      2               And just for the record that testimony did include
01:39:12      3   the testimony of Mr. Torres and Mr. Aguilera and discussing
01:39:19      4   the numerous times that they fronted cocaine and then the
01:39:25      5   times that Aguilera delivered the cocaine with Cesar Perez.
01:39:29      6   And that accounts for -- oh, plus Mr. Llamas' testimony, which
01:39:35      7   accounts for approximately 515 kilograms of cocaine, based
01:39:40      8   upon the trial testimony.
01:39:44      9               All right. Anything you want to add to that?
01:39:46    10                MS. GUREN: Just, I don't know if this was starting
01:39:48    11    to be what you said, but Mr. Perez also separately testified
01:39:51    12    to delivering cocaine without Mr. Aguilera.
01:39:54    13                THE COURT: That's right.
01:39:55    14                Okay. And that is not objected to. So we'll start
01:39:58    15    with the base offense level of 38.
01:40:01    16                Now, there's a role in the offense enhancement that
01:40:06    17    the Government supports and you object to, correct?
01:40:10    18                MR. RUBINO: Yes, your Honor.
01:40:11    19                THE COURT: All right. So let me hear from you then,
01:40:13    20    Mr. Rubino, as to why you believe he should not be given any
01:40:16    21    enhancement.
01:40:17    22                MR. RUBINO: Well, I have filed a written objection
01:40:19    23    to that particularly.
01:40:20    24                THE COURT: And I have it.
01:40:21    25                MR. RUBINO: Okay. And essentially what I'm saying
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01:40:22      1   to the Court is that Mr. Collins, if the evidence be believed
01:40:26      2   as stated, was occupying a buyer-seller relationship with
01:40:31      3   Mr. Gregory.
01:40:32      4               At no time did Mr. Collins -- Mr. Collins determined,
01:40:35      5   of course, the price he would sell the drugs to Mr. Gregory,
01:40:39      6   as any seller determines the price. But Mr. Gregory didn't
01:40:43      7   work for Mr. Collins. It wasn't like Mr. Gregory was an
01:40:47      8   employee of Collins' and he was set up to go stand on this
01:40:51      9   particular corner or at this drug point or had this area and
01:40:55    10    Collins sent him in there to sell drugs on his behalf.
01:40:59    11                Collins simply, the evidence be believed, sold the
01:41:04    12    drugs to Gregory. Gregory was free to do whatever he wanted
01:41:08    13    to do with the drugs and to sell the drugs at whatever price
01:41:12    14    he could get in the open market. Gregory could sell the drugs
01:41:16    15    in kilo-quantities, if he wanted. He could sell them in
01:41:18    16    half-kilos, quarter-kilos. He could have sold them in grams
01:41:21    17    and brought it down to a position where he would have made ten
01:41:24    18    times as much money as Collins, if he took that risk to sell
01:41:28    19    grams. This was Gregory's choice, not Collins' instructions
01:41:33    20    in any way, shape, or form.
01:41:35    21                Collins simply, if the evidence be believed, was a
01:41:37    22    wholesale seller of drugs to Gregory. Again, Gregory is free
01:41:42    23    to sell them to whomever he chose, where he chose, when he
01:41:46    24    chose, how he chose. Collins in no way, shape, or form
01:41:50    25    exercised any control over Gregory after Gregory -- in fact,
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01:41:55      1   he didn't exercise control when he sold it to him. But he met
01:42:00      2   him on the corner or at the paint body shop, if you will, buy
01:42:02      3   the evidence, delivered the drugs to him, and then Gregory was
01:42:06      4   off on his own.
01:42:07      5               If Gregory wanted to go to New York and sell them,
01:42:10      6   Miami and sell them, it just didn't matter to Collins.
01:42:14      7   Collins -- he didn't reach out and exercise any form of
01:42:17      8   control or management over Gregory. The fact that he may have
01:42:21      9   given Gregory a cellphone, that was for Collins' own
01:42:25    10    protection saying when you call me I don't want the phone
01:42:29    11    traced. That wasn't exercising control over Gregory.
01:42:32    12                And the fact that he may have said to Gregory about
01:42:35    13    tinted windows on a car, that was, again, a matter of, Gee, I
01:42:37    14    hope you don't get caught because you're someone that I can
01:42:40    15    make money by selling to. But these weren't instructions.
01:42:44    16    This wasn't the manifestation of control, as required under
01:42:48    17    the enhancement.
01:42:49    18                The enhancement requires that Collins has to in some
01:42:53    19    way manage him. And manage means more than -- just fronting
01:42:57    20    drugs is not managing drugs. It's -- what that's really for
01:43:00    21    is the type of person who has sellers of his own out on the
01:43:04    22    street and he's managing those sellers.
01:43:09    23                Clearly, Gregory was not a seller for the defendant.
01:43:09    24    Gregory was merely a purchaser thereof, and then free to do
01:43:17    25    what he wanted, when he wanted, where he wanted, how he
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01:43:18      1   wanted, why he wanted. No control was exercised whatsoever.
01:43:21      2   That's our argument on that position, your Honor.
01:43:24      3               THE COURT: Okay. Let me hear from the Government in
01:43:25      4   response.
01:43:27      5               MS. RODNEY: Your Honor, I'm going to proceed on this
01:43:30      6   argument on behalf of the Government. We believe that your
01:43:34      7   Honor's application of the enhancement should be guided by the
01:43:39      8   guidelines in the case law that we cited in our position
01:43:42      9   paper. And for the record, that's United States versus
01:43:45    10    Guyton, G-u-y-t-o-n, and United States versus Ruiz.
01:43:49    11                What Guyton points out is that organizing and
01:43:53    12    enlisting others is sufficient for purposes of determining
01:43:58    13    whether 3B1.1 applies. And Ruiz goes a bit further and talks
01:44:04    14    about a defendant who is the supplier of the cocaine, who set
01:44:08    15    the price for the cocaine, and exercised decisionmaking
01:44:12    16    authority.
01:44:13    17                And then the application note 4 to the guideline
01:44:17    18    points to other factors that your Honor should consider in
01:44:20    19    determining whether this enhancement is appropriate. It's
01:44:24    20    undisputed that Mr. Collins was a wholesale supplier of
01:44:28    21    cocaine. We ask the Court to look at not only his
01:44:31    22    relationship to Robert Gregory, his customer, but also to his
01:44:34    23    other customers that he referenced during the recorded phone
01:44:37    24    calls that were admitted and played at trial.
01:44:42    25                The guideline directs the Court to look at whether
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01:44:44      1    the defendant exercised decisionmaking authority. Mr. Collins
01:44:47      2    set the price of $19,000 per kilogram when he dealt with
01:44:52      3    Mr. Gregory. And he set the price of $29,500 per kilogram to
01:44:59      4    the individual he was speaking to in the background of his
01:45:02      5    conversation with the cooperating source in the recorded
01:45:05      6    calls.
01:45:08      7               Mr. -- you also should look at the nature of
01:45:11      8    Mr. Collins' participation in the criminal activity. Again,
01:45:13      9    he was the supplier who supplied Mr. Gregory over a three-year
01:45:17     10    period in quantities that range between nine ounces and
01:45:20     11    4 kilograms each time. And he also references selling to his
01:45:24     12    own customers over the phone in amounts between 10, 15, and
01:45:29     13    ultimately 20 kilograms during that one phone call that was
01:45:32     14    played.
01:45:35     15               Mr. Collins exercised a degree of control over
01:45:38     16    Mr. Gregory by recruiting him at Mr. Lee's car shop on
01:45:42     17    Jefferson. Not only did he ask him what cocaine was going for
01:45:46     18    in the Milwaukee area, after he realized that Mr. Gregory was
01:45:50     19    in the drug game, he took him out to dinner to further woo
01:45:53     20    him, in a sense, and then gave him 9 ounces, which he said to
01:45:57     21    Mr. Gregory didn't mean anything to him. So either Gregory
01:46:01     22    could sell it and give him his money back or he could do with
01:46:04     23    it what he wanted. But by giving him the nine ounces, he was
01:46:08     24    recruiting him and showing him that he could be a source of
01:46:12     25    supply for Mr. Gregory.
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01:46:13      1               On the recorded phone calls Mr. Collins also
01:46:16      2    referenced to having a lot of other people who could help him
01:46:19      3    run through them, meaning help him sell the kilograms of
01:46:23      4    cocaine that he was hoping to be supplied by the cooperating
01:46:26      5    source. Which -- and when you look at that particular aspect
01:46:29      6    of the call, Mr. Collins is referencing the scope of his
01:46:32      7    operation. He had multiple distributors who could help him
01:46:36      8    sell the cocaine that he was buying from the CS.
01:46:39      9               Mr. Collins also made clear that he would be making
01:46:43     10    more money than his distributors. He had to make at least
01:46:47     11    $1500 off of each kilo, and he references that in two areas of
01:46:52     12    that phone call that was plaid during his conversation with
01:46:54     13    the cooperating source.
01:46:56     14               Just turning back to Gregory for my final point, in
01:47:01     15    terms of the degree of control that he exercised over Gregory,
01:47:05     16    he set the time and location of their meetings over this
01:47:08     17    three-year period. He often sent him text messages, which
01:47:13     18    were entered into evidence and played -- or I'm sorry --
01:47:16     19    published for the jury. Text messages where Mr. Collins said,
01:47:19     20    quote, I need you to come to bring that change and come back
01:47:22     21    tomorrow. Clearly directing Gregory when he was to come to
01:47:27     22    Chicago with payment for the previously fronted cocaine.
01:47:29     23               He provided Gregory cellphones and SIM cards starting
01:47:32     24    about six months into their three-year relationship, SIM cards
01:47:37     25    and cellphones that the defendant, Mr. Collins, determined it
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01:47:41      1    was time to change to avoid detection from law enforcement.
01:47:44      2               He took Mr. Gregory to the cellphone store to
01:47:47      3    purchase those cellphones, and he provided him with the phone
01:47:51      4    number that Mr. Gregory would then use to contact Mr. Collins.
01:47:54      5    And, yes, he did advise Mr. Gregory to remove the tint from
01:47:58      6    his windows, because he didn't want his new customer getting
01:48:01      7    caught with drugs, because that would be a source of income
01:48:03      8    that he would lose.
01:48:05      9               So, your Honor, those examples provide evidence of
01:48:12     10    the degree of control that the defendant had over Mr. Gregory,
01:48:17     11    over his own customers. And it also established his position
01:48:21     12    separate and apart from his customers, as a supplier, who
01:48:24     13    directed the time, location, and pricing of the narcotics to
01:48:28     14    help facilitate his business.
01:48:30     15               So for those reasons, your Honor, we think that the
01:48:35     16    preponderance of the evidence -- or the evidence shows by a
01:48:38     17    preponderance that this application -- or this enhancement is
01:48:41     18    applicable to the defendant.
01:48:42     19               THE COURT: Okay. Mr. Rubino, do you want to reply?
01:48:45     20               MR. RUBINO: Yes. Your Honor, the Government relies
01:48:47     21    especially on the Ruiz case, and the holding in the Ruiz case
01:48:51     22    speaks about what Ruiz did with the person he supplied to and
01:48:56     23    how he controlled that person. And the holding says that he
01:49:00     24    set the price of the cocaine. But they are talking about Ruiz
01:49:05     25    set the price that his -- to the person he sold it to, whose
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01:49:09      1    name is not in the decision. He said how much that person
01:49:13      2    would sell it for.
01:49:14      3               Collins didn't set how much Gregory would sell it
01:49:18      4    for. Collins didn't care how much Gregory would sell it for.
01:49:21      5               Secondly, he had decisionmaking authority over the
01:49:25      6    location of the deal, says the Ruiz case. They are not
01:49:29      7    talking about when Ruiz sold it to his person. They are
01:49:33      8    talking about Ruiz controlled when his man went out and sold
01:49:37      9    it to someone else, the 2 kilos.
01:49:40     10               Then they talk about -- Marquez (phonetic) -- I'm
01:49:43     11    sorry, the name was Marquez. So they are talking about when
01:49:46     12    Ruiz -- not when Ruiz sold it to Marquez, but how Ruiz
01:49:52     13    controlled when Marquez went out and sold it and where that
01:49:56     14    deal went down.
01:49:57     15               Then he physically oversaw the two-kilo deal.
01:50:01     16    They're saying that Ruiz physically watched Marquez make the
01:50:05     17    sale. Marquez was Ruiz's employee. Ruiz kept his finger on
01:50:10     18    him, his thumb on him, if you will. Ruiz kept watch upon
01:50:17     19    Marquez and controlled everything Marquez did when he made
01:50:18     20    these sales.
01:50:18     21               On the other hand, this defendant did absolutely
01:50:21     22    nothing, was never present when Gregory made a sale, didn't
01:50:26     23    know where he made them, how he made them, why he made them.
01:50:29     24    Again, I'm repeating myself, and I don't mean to be.
01:50:32     25               And then the Government is talking about he set the
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01:50:34      1    price. Well, of course, he set the price he sold it to
01:50:36      2    Gregory. The seller always does. Gregory set his own price
01:50:40      3    to his clients. This defendant did not set the price for
01:50:44      4    Gregory to make his sales.
01:50:46      5               This defendant did not choose who Gregory sold it to.
01:50:50      6    This defendant didn't go oversee Gregory making sales. In
01:50:55      7    fact, this defendant -- once he sold to Gregory at the body
01:50:58      8    shop, he walked away. He was done. Gregory was off on his
01:51:01      9    own.
01:51:01     10               Now, the Government says this defendant made more
01:51:04     11    money than Gregory. Well, Gregory chose to sell by the kilo.
01:51:08     12    Gregory could have made more had he broke it down to quarter
01:51:13     13    kilos. Could have made a fortune if he broke it down to
01:51:17     14    grams, but he chose not to.
01:51:19     15               It wasn't that this defendant instructed Gregory, You
01:51:21     16    must only sell it in full kilos and here's what you must sell
01:51:26     17    it for, or half kilos. This defendant didn't care how much
01:51:30     18    Gregory sold it for. Gregory made $1,000, 2,000, 10,000 a
01:51:35     19    kilo. This defendant didn't care, as long as Gregory paid him
01:51:38     20    his price. But he didn't care -- he had no interest in how
01:51:41     21    much Gregory made, because he didn't receive any percentage of
01:51:46     22    that profit. He just sold an object and got a price for it.
01:51:50     23               So there's a misplaced reliance on Ruiz, because Ruiz
01:51:58     24    managed Marquez. He (indicating) didn't manage Gregory.
01:52:02     25               THE COURT: Okay. Anything else that anyone wants to
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01:52:04      1    add on that?
01:52:05      2               MS. RODNEY: Just to remind your Honor that the
01:52:07      3    application note provides the factors that should be relied
01:52:11      4    on. Ruiz is but an example but not determinative. Yes, it
01:52:15      5    can be distinguished in some aspects. But you still have the
01:52:18      6    presence of the defendant recruiting accomplices, claiming a
01:52:22      7    larger share of the fruits of the crime, and being very
01:52:25      8    involved in the participation of the crime in his relationship
01:52:30      9    to Gregory, in terms of providing him with cellphones over a
01:52:34     10    two-and-a-half-year period and directing the time and location
01:52:37     11    of their meetings.
01:52:38     12               So -- and, finally, he, in fact, had an interest in
01:52:40     13    how Gregory sold his drugs, because he would not get paid if
01:52:44     14    he did not sell them, so there was certainly an interest
01:52:48     15    there. And he maintained that relationship by contacting him
01:52:53     16    by phone, providing him with means of communication, and
01:52:56     17    carrying on that relationship for at least a three-year
01:52:57     18    period.
01:52:58     19               THE COURT: Okay. I have failed to identify you,
01:53:01     20    Ms. Stern. Could you, for the record, put your name.
01:53:04     21               MS. HALLERAN: Good afternoon, Judge Kendall. Jodi
01:53:06     22    Halleran standing in for Ms. Stern today for the Probation
01:53:09     23    Department.
01:53:09     24               THE COURT: Thank you. And please extend my thanks
01:53:11     25    to her for a very well done report. I appreciate it.
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01:53:15      1               MS. HALLERAN: Will do, your Honor.
01:53:16      2               THE COURT: Excuse me for leaving probation out of
01:53:18      3    the picture for a moment.
01:53:19      4               Okay. But now turning back to the sentencing
01:53:23      5    guideline calculation, under 3B1.1, the defendant needs to be
01:53:29      6    a manager or a supervisor of criminal activity involving five
01:53:34      7    or more participants, or that is otherwise extensive, in order
01:53:40      8    for the three levels to be added. And the guidance that we
01:53:44      9    have from the notes talk about the role that the individual
01:53:50     10    have over the other participants and also speak to what it
01:53:54     11    means to be otherwise extensive.
01:53:56     12               So in this case what we have is we have the defendant
01:54:02     13    at trial, the trial testimony revealed, that he was someone
01:54:09     14    who had recruited Mr. Gregory out of the dealership or the car
01:54:14     15    place, and this was disputed at trial. It was cross-examined
01:54:18     16    at trial. But the jury clearly credited the testimony of
01:54:22     17    Mr. Gregory and others who testified regarding the
01:54:26     18    relationship to the defendant. And so first we have that
01:54:31     19    initial contact of bringing him into his sale of cocaine.
01:54:36     20               What we have then is a very long period of time where
01:54:41     21    there was a relationship that I cannot describe as a
01:54:48     22    buyer-seller relationship, because during that period of time
01:54:52     23    the cocaine is being fronted, money is being fronted, and
01:54:56     24    there is an ongoing relationship about when the cocaine will
01:55:00     25    be delivered to others.
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01:55:02      1               Now, I understand Mr. Rubino's argument that this is
01:55:07      2    something where Mr. Collins might not know the end result of
01:55:13      3    the sale, as in not knowing who he's going to sell to or how
01:55:19      4    Mr. Gregory is actually going to put the cocaine on the
01:55:22      5    street.
01:55:22      6               But there's a number of other factors that support a
01:55:27      7    managerial role here, and the first is that, aside from
01:55:31      8    recruiting, he is the person who is setting the price of the
01:55:35      9    product, and he is the person who is arranging the timing and
01:55:40     10    the location of each transaction. And what's critical about
01:55:45     11    that is that he's directing Mr. Gregory at each one of these
01:55:50     12    moments that this will be the place and this will be the time
01:55:52     13    for either the delivery of cash or of drugs.
01:55:57     14               What's also important about that is that he's giving
01:56:00     15    him advice and the tools on how to support this continued
01:56:05     16    relationship, so as to avoid law enforcement. So he's aiding
01:56:10     17    this ongoing relationship of managing Mr. Gregory by buying
01:56:16     18    him these new cellphones every few months, deciding when it's
01:56:20     19    time to change that cellphone, deciding when it is appropriate
01:56:25     20    to take the tint off of the windows of the car so as not to
01:56:30     21    cause attention from law enforcement to Mr. Gregory.
01:56:35     22               And it's that type of managerial advice and that type
01:56:39     23    of provision of tools that's enabling the cocaine trafficking
01:56:44     24    to continue beneath him. He doesn't need to know exactly
01:56:48     25    where it goes or for what price. What matters is that in
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01:56:52      1    order for him to continue in his ongoing relationship of
01:56:56      2    making money through the sale, he is directing and controlling
01:57:01      3    the cocaine that's going to Mr. Gregory. So I do see that
01:57:05      4    that's a managerial role.
01:57:06      5               So then the next question becomes is it a managerial
01:57:10      6    role in a situation where we have either five or more
01:57:14      7    participants or one where it is otherwise extensive. I think
01:57:20      8    that the otherwise extensive language fits best here, because
01:57:23      9    of our own known individuals who may have been distributing
01:57:29     10    below Mr. Gregory. But when we're dealing with a three-year
01:57:33     11    period of time, where cocaine is continually fronted, and
01:57:36     12    we're talking about hundreds of kilos of cocaine, we do have
01:57:39     13    an otherwise extensive crime.
01:57:43     14               And for that reason, I will overrule the objection to
01:57:48     15    the Presentence Investigation Report and apply the three-level
01:57:52     16    enhancement for the managerial role, for 3B1.1(b). And that
01:57:58     17    brings us then up to a level of 41, under the guidelines, the
01:58:02     18    advisory guidelines.
01:58:03     19               Now, there's no others that are addressed at this
01:58:07     20    point in this part of the guidelines.
01:58:09     21               There's no acceptance given, based upon the trial.
01:58:13     22               However, we do have a question regarding some
01:58:16     23    criminal history. So let's go to that criminal history
01:58:20     24    calculation, which is currently set as a criminal history
01:58:25     25    category VI. And that criminal history is based upon thirteen
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01:58:30      1    criminal history points, and it includes the 1989 conviction
01:58:34      2    for receiving or possessing a stolen motor vehicle, when he
01:58:40      3    was fifteen years old, for three points; for violation of
01:58:43      4    bail, when he was fifteen, which is another three points; and
01:58:48      5    then 3 points, again when he was fifteen, for possession of a
01:58:52      6    stolen motor vehicle; and then we move forward to the one
01:58:58      7    point for interfering with the official acts, when he is 23,
01:59:02      8    back in 1997, out of Iowa.
01:59:05      9               And I believe that gives us our thirteen points. So
01:59:09     10    with that in mind, let me hear from you, Mr. Rubino, as to why
01:59:13     11    you think that's overstated.
01:59:18     12               MR. RUBINO: Your Honor, twelve, we only argue on
01:59:21     13    twelve of the thirteen points. We do not make argument to the
01:59:24     14    last point, when he was 27 years old.
01:59:26     15               Obviously, this is a 37-year-old defendant standing
01:59:28     16    before the Court. These are offenses that occurred 22 years
01:59:32     17    ago. These offenses would not be counted, if they were in
01:59:36     18    juvenile court. For reasons I can't explain to the Court,
01:59:43     19    other than I understand that when the defendant was arrested
01:59:45     20    at age fifteen, he may have misrepresented to the police that
01:59:49     21    he was seventeen years old, and, hence, they charged him as an
01:59:53     22    adult instead of a juvenile. This is speculation. I don't
01:59:58     23    know that this is fact. Be that as it may, these are offenses
02:00:04     24    that should be juvenile offenses at age fifteen and should not
02:00:08     25    be counted.
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02:00:08      1               If the Court notes, every one of the twelve points
02:00:12      2    all come from a one-time resolution. It's not like he went to
02:00:16      3    court twelve different times. He went to court once. These
02:00:20      4    were all packaged together in a one-time resolution. 22 years
02:00:26      5    ago this happened.
02:00:28      6               I think that that should not be used against this
02:00:31      7    defendant, who's 37 years old today. I think it truly does
02:00:35      8    overrepresent his criminal history, and I think that it should
02:00:37      9    not be counted, because it should have been counted only as a
02:00:41     10    juvenile offense, which then wouldn't factor. He would then
02:00:45     11    have one criminal history point. And that's our argument on
02:00:47     12    that, your Honor.
02:00:49     13               THE COURT: Okay. So let me hear from the Government
02:00:51     14    on this issue.
02:00:52     15               MS. GUREN: Your Honor, there is a couple different
02:00:54     16    points. The first is the reason why this counts under the
02:00:58     17    guidelines is because he was sentenced at age 18. That is a
02:01:02     18    valid reason under the guidelines. The guidelines permit for
02:01:05     19    this type of calculation.
02:01:07     20               With regard to this idea that all of these crimes
02:01:10     21    were packaged together into one sentencing, that doesn't make
02:01:13     22    a difference and it certainly isn't mitigating. It's just as
02:01:17     23    a matter of judicial resources and probably for the benefit of
02:01:21     24    Mr. Collins, in terms of the fact that he wouldn't
02:01:23     25    individually receive separate sentences on each of these.
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02:01:27      1               It still means and the guidelines still are
02:01:30      2    calculated as such that each of these crimes were individual
02:01:32      3    crimes that he committed on separate occasions. That's the
02:01:36      4    reason why they count as different crimes under the
02:01:39      5    guidelines.
02:01:39      6               The other thing that I want to point out, with regard
02:01:41      7    to his youth during this time period versus other arguments,
02:01:47      8    is that, yes, these crimes happened -- he was sentenced for
02:01:51      9    these crimes when he was eighteen. However, he was released
02:01:54     10    when he was 20, which was still within an eleven-year period
02:01:58     11    of the start of this conspiracy and still again count under
02:02:02     12    the guidelines. The guidelines do permit for that.
02:02:05     13               To the extent that this really ends up being in some
02:02:07     14    ways a 3553(a) argument about whether or not the properly
02:02:12     15    calculated criminal history points do count, I want to point
02:02:16     16    out a couple different things.
02:02:17     17               The first is that with regard to this sentence -- or
02:02:21     18    with regard to this crime, this crime started in 2005.
02:02:26     19    Mr. Collins was -- after being released from prison when he
02:02:29     20    was 20, he didn't learn his lesson. Instead, he does this
02:02:35     21    crime at -- I believe, if he's 37 today, it would be when he
02:02:40     22    was 31 he started this crime.
02:02:41     23               In between that period of time, he was arrested for
02:02:45     24    drug trafficking in 2002. Now, he was found not guilty of
02:02:48     25    that and I, in no way, want to infer any guilt on him from
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02:02:48      1    that arrest, but I think what is really important there is
02:02:56      2    that he had exposure to the criminal justice system. And
02:02:57      3    instead of learning his lesson, he continues to be a part of
02:03:00      4    it with this conspiracy. In fact, he was acquitted in 2006.
02:03:04      5    This conspiracy was in 2005. So to the extent that this
02:03:08      6    somehow overstates his criminal history, I don't believe that
02:03:11      7    it does.
02:03:12      8               The next factor -- I do just want to point out, which
02:03:16      9    I think is also important -- is that even if your Honor
02:03:19     10    considered only one of these convictions in addition to the
02:03:22     11    interference -- the point from the interference crime, it
02:03:27     12    would end up giving him a guideline range of 41 for the total
02:03:34     13    offense level and a criminal history of II, which still
02:03:37     14    results in a 360-to-life guideline range.
02:03:40     15               So to the extent that somehow or another this
02:03:41     16    overstates his criminal history resulting in a range that is
02:03:45     17    too high for him, even if your Honor did take that into
02:03:48     18    account and went down on his criminal history, unless your
02:03:51     19    Honor went down and only calculated that one criminal history
02:03:54     20    point, he would still be within that 360-to-life range.
02:03:58     21               THE COURT: Okay. Anything else you want to add,
02:04:00     22    Mr. Rubino?
02:04:00     23               MR. RUBINO: No, your Honor. I just don't think --
02:04:01     24    simply stated. I don't think it's fair that a 15 -- a
02:04:04     25    conviction 22 years ago when he's fifteen years old should
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02:04:09      1    count.
02:04:09      2               THE COURT: Right.
02:04:10      3               Under the 4A1 guideline, I think that this does
02:04:14      4    overestimate his criminal history. To give him essentially
02:04:22      5    eleven points; is that correct?
02:04:22      6               MR. RUBINO: Twelve.
02:04:23      7               THE COURT: For the convictions that occurred. Now,
02:04:26      8    let's take a look at how they occurred.
02:04:34      9               So when he's fifteen years old, in November of '89,
02:04:38     10    and then we move out to -- so November 15th to November 17th
02:04:43     11    of '89. And then a little longer than two months later to
02:04:49     12    February of '90 and then April of '90. We have -- he's
02:04:54     13    getting this criminal history category of VI from what are
02:04:59     14    essentially nonviolent crimes of possession of a stolen motor
02:05:08     15    vehicle, of a motor vehicle, which is an extremely atypical
02:05:14     16    characterization for a criminal history category VI defendant,
02:05:17     17    especially based upon the period of time that has elapsed
02:05:20     18    since these occurred and based upon the fact that when they
02:05:23     19    did occur, when he was a young boy, he also had them occur in
02:05:27     20    a very short period of time. And that's where he amassed his
02:05:32     21    criminal history category of VI.
02:05:34     22               And that, in the Court's opinion, overestimates his
02:05:39     23    criminal history. And so I'm going to count them as being one
02:05:45     24    conviction for three points.
02:05:50     25               And that means I am going to depart downward from the
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02:05:55      1    sentencing guideline advisory range from a category VI
02:05:58      2    criminal history to a category II. And I think that is a more
02:06:02      3    accurate reflection of the criminal history that the defendant
02:06:08      4    has in his past than looking at him here saying a criminal
02:06:15      5    history 13, based upon that 22-year-old juvenile record.
02:06:20      6               Okay. So that unfortunately for the guideline
02:06:24      7    calculation still leaves him at an advisory range level 41,
02:06:32      8    criminal history category II, 360 to life for his advisory
02:06:37      9    guideline range.
02:06:38     10               Now, other than that dispute in our guideline
02:06:42     11    calculations, is there anything under the guidelines we need
02:06:45     12    to address from either side?
02:06:47     13               MS. GUREN: No, your Honor.
02:06:48     14               THE COURT: Okay.
02:06:49     15               MR. RUBINO: No, your Honor.
02:06:50     16               THE COURT: So now let's turn to the 3553 factors,
02:06:54     17    and let me hear first from the prosecution as to where they
02:06:58     18    believe Mr. Collins should be sentenced, based upon all of
02:06:59     19    those factors.
02:07:00     20               MS. GUREN: Your Honor, first, if I may make a
02:07:02     21    correction to the sentencing memo. On page 11, three lines
02:07:06     22    down, I said, Credit card and bank account applications. It
02:07:11     23    is actually just two credit card applications, which is Chase
02:07:15     24    2 and 4, not Chase 1 through 6, and not bank applications. I
02:07:19     25    did want to make that correction.
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02:07:21      1               THE COURT: Three lines down from the top, are you
02:07:24      2    saying?
02:07:24      3               MS. GUREN: Yes, from the top. Where it says: Bank
02:07:28      4    account applications. And then on the fourth line down I cite
02:07:34      5    to Government Exhibits Chase 1 through 6. It should be
02:07:36      6    Government Exhibits Chase 2 and 4 --
02:07:39      7               THE COURT: Okay.
02:07:39      8               MS. GUREN: -- in addition to the mortgage documents.
02:07:41      9               THE COURT: Okay. I will accept those corrections to
02:07:44     10    your filing.
02:07:44     11               MS. GUREN: And just as a second point, I do have the
02:07:47     12    pages that I relied on printed out.
02:07:47     13               THE COURT: Okay.
02:07:51     14               MS. GUREN: Should defense counsel or your Honor like
02:07:53     15    to review them, I have easy access to them.
02:07:55     16               THE COURT: Okay. All right.
02:07:56     17               MS. GUREN: Your Honor, there are two main areas that
02:07:58     18    I want to focus on. I'm not going to address the criminal
02:08:02     19    history, because you have already addressed it. But the
02:08:04     20    first --
02:08:04     21               THE COURT: Well, you can, though.
02:08:06     22               MS. GUREN: Okay.
02:08:06     23               THE COURT: I mean, what I have done, under the
02:08:09     24    criminal history guideline calculation, is to say that the
02:08:12     25    criminal history category VI overstates what was a juvenile
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02:08:17      1    record. But now in the 3553 factors, you should feel free to
02:08:22      2    address his criminal history in any way you feel
02:08:25      3    appropriate --
02:08:26      4               MS. GUREN: Okay.
02:08:26      5               THE COURT: -- using those factors.
02:08:27      6               MS. GUREN: Okay. Thank you, your Honor. Then I
02:08:31      7    have three areas to address to your Honor. The first is the
02:08:32      8    drug quantity. And I think that it's very important to
02:08:35      9    recognize that the conservative estimate that the Government
02:08:39     10    made is at the lowest end of what the crew members testified
02:08:44     11    to.
02:08:44     12               So when they testified, for example, for delivering
02:08:48     13    four to six times at 10 to 20 kilograms, we took the ten and
02:08:53     14    we also took the four in order to make our calculation.
02:08:57     15    That's actually not required by the case law. There is a
02:08:59     16    case, which we cited in our memo, that actually states that
02:09:03     17    you can take the average. We chose not to do that, because we
02:09:07     18    wanted to make sure that it was an extremely conservative
02:09:10     19    calculation.
02:09:11     20               But that points to the fact that 515 kilograms is the
02:09:15     21    absolute low end of this, and I think that you can reasonably
02:09:18     22    infer from Gregory's testimony about how frequently
02:09:23     23    Mr. Collins was selling to them, that the kilogram quantity
02:09:26     24    was much more than just that testified to by what these four
02:09:31     25    specific crew members delivered to Mr. Collins.
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02:09:34      1               When you look at the guidelines, there's a commentary
02:09:36      2    that talks about taking into account an upward departing if
02:09:40      3    the kilograms are actually ten times the 150-kilogram number.
02:09:45      4    In this case we have three -- nearly 3.5 times the
02:09:49      5    150-kilogram, for a very conservative estimate.
02:09:52      6               This is a substantial amount of drugs. Mr. Collins
02:09:55      7    was a large-scale drug trafficker and did it for a three-year
02:09:59      8    period. This is one of the more serious types of drug
02:10:03      9    trafficking offenses that the Government prosecutes in terms
02:10:07     10    of quantities. This is not just a one-time seven-kilogram
02:10:12     11    amount. This is not 150, but this is a very large scale drug
02:10:12     12    trafficker.
02:10:17     13               And we are asking for a sentence within the guideline
02:10:20     14    range to reflect the seriousness of that, both in part because
02:10:23     15    it is a serious crime that harms the community, but also
02:10:26     16    because of the strong deterrent message that it sends.
02:10:29     17               In the evidence that was presented at trial,
02:10:32     18    Mr. Collins lived a good life. He had many cars, an Audi, a
02:10:36     19    Bentley, Land Rovers. He had three houses that he bought.
02:10:41     20               He came -- it came out in testimony that he also had,
02:10:46     21    I believe, a nightclub that he owned a share of in Atlanta.
02:10:49     22    These are all things that show this, sort of, high leading
02:10:54     23    life that he led, as a result of his drug trafficking.
02:10:57     24               And a message needs to be sent to discourage people
02:11:00     25    from entering into that with these dreams of getting these
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02:11:01      1    types of cars, this type of lifestyle, and it's a hard message
02:11:05      2    to resist. And that's why a sentence of 360 to life is so
02:11:10      3    significant and so important, as a message that it sends.
02:11:13      4               The second part of this is that Mr. Collins did not
02:11:16      5    just harm the community with his drug trafficking. He
02:11:19      6    actually economically harmed the community. This is a case
02:11:23      7    where you are not just dealing with a large-scale drug
02:11:27      8    trafficker, which in and of itself, I believe, warrants a
02:11:27      9    360-to-life sentence. You are also dealing with someone who
02:11:30     10    committed mortgage fraud on three occasions and failed to file
02:11:33     11    his taxes.
02:11:34     12               He submitted forged documents for three properties,
02:11:41     13    and those forged documents stated that he worked for a store,
02:11:42     14    a clothing store named Mr. Kay's (phonetic). In his
02:11:46     15    documentation that he submitted to the mortgage company, he
02:11:48     16    forged a 1040, which the evidence came out at trial that he
02:11:51     17    never submitted any tax returns, so he never had a 1040.
02:11:54     18               He submitted false paystubs and W-2s. Well, there
02:11:58     19    was ERPs that came out also with the tax returns that showed
02:12:02     20    there was no reported 1020 -- W-2 income. And in the
02:12:06     21    Presentence Report it shows as well that he never worked at
02:12:10     22    Mr. Kay's.
02:12:11     23               And all of this was to obtain these three properties,
02:12:13     24    which had very real consequences on the economy. One of those
02:12:17     25    properties was sold by short sale and one was foreclosed on.
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02:12:22      1    So he took advantage of these lacks verification measures that
02:12:25      2    were in place at the time at these financial institutions to
02:12:28      3    not just drug traffic, but also actually undermine stability
02:12:33      4    in the financial institution context. So he's not just a drug
02:12:40      5    trafficker, but he -- he continues to harm the community.
02:12:42      6               And he also continues, to some degree, in the course
02:12:43      7    of his fraud. He told Probation that he ran Double R
02:12:49      8    Construction and Hilarious Entertainment in 2008 to 2009, and
02:12:53      9    he suggested to Probation that those were actual businesses.
02:12:58     10    But if you look at the bank records, which were admitted at
02:13:01     11    trial, these bank records show very minimal activity and
02:13:03     12    suggests that these were not, in fact, legitimate businesses
02:13:05     13    in any way. So he has continued in those lies.
02:13:08     14               The third point that I want to raise is the criminal
02:13:12     15    history that Mr. Collins has accumulated. It's true that he
02:13:15     16    had the majority of his points from when he was fifteen and
02:13:19     17    several arrests and convictions that happened at that time.
02:13:23     18    But when he got out of prison, when he was 20, rather than
02:13:26     19    take this as an opportunity and a lesson that he got
02:13:28     20    three years and move on with his life and not continue to
02:13:31     21    commit crimes, what he did instead was he ended up committing
02:13:34     22    this crime at a very large scale level and also mortgage
02:13:39     23    fraud.
02:13:39     24               And, in addition, he had opportunities to reassess
02:13:42     25    and redetermine his life. When he was arrested in 2002 for
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02:13:45      1    drug trafficking, he ultimately was acquitted in 2006. But
02:13:49      2    rather than take that experience with the criminal justice
02:13:52      3    system and think, Wow, that's a really scary place, I don't
02:13:55      4    want to be here again, he went forward and continued with
02:13:59      5    his -- and he drug trafficked in this large scale conspiracy.
02:14:03      6               And I'm going to say just for the record again, I'm
02:14:07      7    not in any way holding him accountable for guilt in the drug
02:14:09      8    trafficking case, but I do think that it is something you can
02:14:12      9    take into account in the sense that he should have learned his
02:14:14     10    lesson and he should have been deterred from just that
02:14:16     11    exposure alone, let alone the exposure from when he was
02:14:21     12    fifteen.
02:14:21     13               And because of all of these things, I don't think in
02:14:23     14    any way this is a typical case. I do recognize that 360 to
02:14:24     15    life is a large penalty to be facing, but I think that it is a
02:14:28     16    well-deserved penalty, because this is not a typical case in
02:14:31     17    any way.
02:14:32     18               There is a huge amount of drugs that he is
02:14:34     19    responsible for. He not just did [sic] drug trafficking, but
02:14:37     20    then also in his personal life committed fraud, failed to file
02:14:41     21    his taxes, and his criminal history shows that he actually in
02:14:44     22    fact needs that deterrence, along with the general deterrence,
02:14:47     23    that comes from sending a message to drug traffickers that you
02:14:50     24    can't -- you are not excused from the law and that you
02:14:53     25    actually do need to follow it and there will be real
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02:14:56      1    consequences.
02:14:56      2               Because of that the Government is asking for a
02:14:59      3    sentence within the guideline range.
02:15:00      4               THE COURT: And where did you come up with your
02:15:03      5    $3.2 million in the motion for the entry of the preliminary
02:15:09      6    order of forfeiture?
02:15:09      7               MS. GUREN: Your Honor, the motion -- that was a
02:15:12      8    reference -- the forfeiture order is actually only reflective
02:15:15      9    of the 515 kilograms. You'll see later on, I think, that
02:15:19     10    we're only asking for 772,000. The 3.2 was a reference to
02:15:24     11    what was initially alleged in the indictment and just a
02:15:26     12    recitation of that and not a request for 3.2 million.
02:15:30     13               THE COURT: Okay. Okay. Mr. Rubino?
02:15:33     14               MR. RUBINO: Well, your Honor, I take no solace that
02:15:36     15    the Government is not asking you to go outside the guidelines
02:15:38     16    and impose the death penalty, because that's the only thing
02:15:42     17    beyond life. So I take no solace in that. I don't see
02:15:46     18    anything benevolent about that in the Government's asking you
02:15:49     19    to be merciful and just stay within the guideline.
02:15:51     20               3553, as we both know, requires a sentence that's
02:15:57     21    sufficient, but, comma, no greater than necessary. You know,
02:16:03     22    how much is enough? That's really the question. How much
02:16:08     23    time do we give a 37-year-old man to spend in prison for this
02:16:13     24    crime? Do we want to give him 30 years and have him get out
02:16:17     25    when he's 65, 67 years old? Do we want to give him 40 years
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02:16:22      1    and he'll probably die in prison? That's probably -- anything
02:16:24      2    40 or beyond is probably a life sentence.
02:16:27      3               So, really, the question is, do he want him to get
02:16:31      4    him out of jail at all, or do we want him to spend the rest of
02:16:34      5    his natural life in prison and die there? Because anything
02:16:38      6    beyond that -- anything probably beyond 35 is really a death
02:16:41      7    penalty, for all practical purposes, life in prison with no
02:16:45      8    parole.
02:16:45      9               So the question we have to ask ourselves, what's
02:16:48     10    necessary? How much is necessary? I think, as I asked the
02:16:51     11    Court in my motion, a level 38 at a Level 1, which is
02:16:56     12    19-and-a-half, 19-year, 7 months to be exact.
02:17:00     13               I mean, I think back, what was I doing 20 years ago?
02:17:04     14    That was a long time ago. What is this -- this man will be
02:17:10     15    57 years old, if this the Court imposes that upon him. Or
02:17:14     16    anything higher we start getting to a point where -- what I'm
02:17:17     17    saying to the Court is, is that really necessary? Does that
02:17:22     18    really comply with 3553?
02:17:25     19               When we're sending a message, are we sending a
02:17:26     20    message that, We're going to punish you, or are we sending a
02:17:30     21    message that we are going to bury you? That's the question we
02:17:33     22    have to ask ourselves.
02:17:35     23               Twenty years would scare the devil out of me. I
02:17:40     24    think 20 years will scare anybody. I don't think you need to
02:17:41     25    give 30, 35, 40, life. I don't think you need to send that
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02:17:46      1    kind of message.
02:17:47      2               I mean, I'm not, by far, minimizing drug dealing, but
02:17:52      3    there's far more heinous and serious crimes out there where
02:17:57      4    people receive less than 25, 30 years in prison. What this
02:18:06      5    gentleman did is not acceptable. It's against the law. It's
02:18:08      6    reprehensible. In no way, shape, or form am I trying to
02:18:09      7    justify it. But, again, how -- when is enough enough, is
02:18:13      8    really my question I'm asking you.
02:18:16      9               He's going to get out of jail -- if he gets
02:18:19     10    20 years -- at 57. If he gest 30, 67. Anything beyond that
02:18:21     11    he'll probably die there. So we've got to say, Do we want him
02:18:25     12    to get out of jail at all?
02:18:27     13               You know, I can't picture what it'll be like to walk
02:18:30     14    out of a prison at 67 years old, after spending the last
02:18:34     15    30 years of my life there. I would be literally
02:18:38     16    institutionalized. In fact, the first thing I would do is
02:18:41     17    commit a new crime, so I could go back there, because it would
02:18:45     18    be the best assisted living facility I could find, because I
02:18:49     19    would be 67 years old with no possibility of getting a job.
02:18:54     20    All my friends and family haven't seen me in 30 years. I've
02:18:58     21    long since gone out of their life. I'm going to be a homeless
02:19:00     22    67-year-old person with no chance of getting a job, and that's
02:19:03     23    the life I'm going to face.
02:19:05     24               If he gets out of jail after 20 years, which is still
02:19:08     25    a long time, he's at least 57. He's employable to some
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02:19:14      1    degree. He can function on his own. He can find himself a
02:19:17      2    place to live. He's not 67 years old, after 30 years of being
02:19:22      3    institutionalized, who basically won't be able to function in
02:19:25      4    society.
02:19:26      5               So I ask the Court anything -- 30 years up we're
02:19:30      6    basically talking about a life sentence. Isn't that too much?
02:19:36      7    Does that -- is that no greater? No, I don't think it is. I
02:19:42      8    think it is greater than necessary. That's the question we've
02:19:44      9    got to ask ourselves. What is necessary and what is greater
02:19:48     10    than necessary?
02:19:48     11               I think we could end 30-year sentences, 40, 50, it
02:19:48     12    doesn't matter. I think that's greater than necessary to send
02:19:56     13    a message to the community. Twenty years scares the devil out
02:19:58     14    of anybody. To send a message and to at least have some hope
02:20:01     15    for some life. Otherwise, it's really life in prison.
02:20:05     16               Thank you, your Honor.
02:20:08     17               THE COURT: Okay. Anything else that anyone wants to
02:20:10     18    add?
02:20:12     19               (No response.)
02:20:13     20               THE COURT: All right. Before I sentence you,
02:20:14     21    Mr. Collins, you are free to address the Court. You have a
02:20:18     22    right to do that, if you would like.
02:20:19     23               MR. RUBINO: He would like to do that, your Honor.
02:20:19     24               THE COURT: Okay.
02:20:19     25                                        - - -
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02:20:23      1                                    ALLOCUTION
02:20:23      2               THE DEFENDANT: Yes. First of all, I would like to
02:20:25      3    apologize to my family for the pain and distress that I done
02:20:27      4    caused them. I apologize to the Court. And hopefully, while
02:20:31      5    I'm serving this time, you know, I can -- I guess I can get
02:20:34      6    my -- well, I'm not going to say I guess. You know, I'll get
02:20:37      7    my GED and take some college courses, so upon my release date,
02:20:42      8    you know, I can -- hopefully I'll have a little time to start
02:20:45      9    a year and be helpful to my family, and hopefully someday I
02:20:51     10    can be helpful to the community as well. That's it.
02:20:51     11                                        - - -
02:20:56     12                             IMPOSITION OF SENTENCE
02:20:56     13               THE COURT: Okay. Thank you.
02:21:05     14               We start with the understanding that there is an
02:21:08     15    advisory guideline range that I have calculated that is
02:21:11     16    360 months to life, based upon a category II criminal history
02:21:19     17    and a level 41 for the guideline calculation.
02:21:22     18               And then we turn to the 3553 factors. First, we
02:21:28     19    address under the 3553 factors the seriousness of the offense.
02:21:32     20    You know, these very extreme sentences in the guidelines are
02:21:37     21    reserved -- these harsh sentences are reserved for those very
02:21:41     22    large quantity of drug cases. Quantity, meaning something
02:21:45     23    over hundreds of kilograms. I think that the 515 kilograms
02:21:52     24    has been calculated is a conservative number.
02:21:55     25               Based upon the testimony here that occurred in this
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02:21:58      1    courtroom, the credibility of those witnesses, you were a very
02:22:01      2    big drug dealer. And the magnitude of that crime is something
02:22:11      3    that I'm not sure even today you might have an appreciation
02:22:18      4    for. Because even if we were to limit it to 515 kilograms --
02:22:21      5    which I think is your lowest amount to limit it to -- you're
02:22:25      6    talking about the distribution of massive quantities of drugs
02:22:28      7    on the streets and the impact that those drugs have on
02:22:33      8    breaking down families, preventing people from working,
02:22:38      9    preventing people from being good fathers to their children
02:22:39     10    and mothers to their children and caregivers and students is
02:22:41     11    devastating.
02:22:42     12               So you just can't underestimate the impact that that
02:22:47     13    massive drug distribution had on the community. And you have
02:22:52     14    to juxtapose that with how you were living your life at that
02:22:59     15    time, and you were living it very comfortably. So you had a
02:23:05     16    lot of benefits. You had your cars and your homes and cash
02:23:08     17    and a lifestyle that was comfortable and if not luxurious in
02:23:15     18    comparison to those individuals who were becoming addicted to
02:23:20     19    the drugs that you pumped on to the streets.
02:23:22     20               So it's under the first category of 3553 factors,
02:23:27     21    it's an extremely aggravating crime.
02:23:30     22               Now, as far as who you are personally and whether you
02:23:36     23    will recidivate, I did give the downward departure under the
02:23:39     24    guidelines based upon what I believe the juvenile history
02:23:41     25    reflected as being an overexaggeration of the points that you
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02:23:47      1    should have received for those juvenile crimes when you were
02:23:51      2    fifteen.
02:23:51      3               But now under the 3553 factors, we need to address
02:24:00      4    who you are as far as the type of criminal activity that you
02:24:00      5    have engaged in and it is quite pervasive. It's pervasive in
02:24:05      6    that the drug dealing occurred over years, and the
02:24:09      7    coordination of those drug deals occurred over years. And
02:24:13      8    there was a sophistication in your ability to avoid law
02:24:17      9    enforcement that included your mortgage fraud schemes, your
02:24:21     10    failure to file tax returns, this testimony regarding
02:24:24     11    businesses that is questionable at best and false at worst.
02:24:30     12               And so you have a sophisticated long-term criminal
02:24:39     13    here who has not received a wake-up call back in 2002 when
02:24:45     14    there was an arrest, and I am not taking into account
02:24:49     15    acquitted conduct. But simply the fact that the arrest for
02:24:53     16    that criminal activity should be the gong that wakes one up in
02:24:58     17    the middle of the night to say, I don't want to be 65 years
02:25:02     18    old in jail and it's time to put this behind me.
02:25:06     19               But I assume that it wasn't put behind you because of
02:25:09     20    this lifestyle that was very comfortable and helpful to the
02:25:16     21    family at the time and to you at the time. So I am not
02:25:19     22    convinced that that pervasive criminal nature means that you
02:25:23     23    would not recidivate. In fact, it indicates that you would
02:25:28     24    recidivate, if you were here, out on the streets again. So
02:25:34     25    that is another aggravating factor under 3553.
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02:25:37      1               So then I need to think about the sentence and how
02:25:40      2    it's imposed to others who might consider committing the
02:25:46      3    crime. And it is quite a lure for young men to look at a
02:25:51      4    large-scale drug trafficking operation and see someone riding
02:25:57      5    around in a Bentley and having nightclubs and homes and think,
02:26:00      6    Well, this is the way to go, this is what I should be doing.
02:26:03      7    So the sentence does need to be significant enough to send a
02:26:07      8    message to those who would consider this crime that there is a
02:26:09      9    significant penalty to it.
02:26:11     10               I also need to take into account the impact of this
02:26:17     11    crime on the community as a whole, and the communities that
02:26:21     12    are impacted by this drug dealing, as I mentioned earlier,
02:26:25     13    impacted detrimentally for years. Because the addictions that
02:26:30     14    come from the drug use do not just come and vanish within a
02:26:33     15    day, but they continue on for years and years and break down
02:26:38     16    that fabric of the community that we need so badly to be
02:26:42     17    strong, in order to raise another generation of youth that
02:26:45     18    will be leaders and not drug addicts.
02:26:48     19               So overarching I don't see mitigating factors here to
02:26:53     20    enable you to get out from underneath what Congress has
02:26:58     21    imposed as a potential advisory sentence, because I think it's
02:27:02     22    appropriate under the circumstances, so I'm sentencing you to
02:27:05     23    360 months in prison.
02:27:07     24               And that will be five years of supervised release.
02:27:11     25               And I'm not recommending any restitution.
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02:27:14      1               You do have a $100 special assessment.
02:27:18      2               Based upon the forfeiture, I'm not imposing a fine.
02:27:22      3               And when you are released from prison, you will need
02:27:26      4    to report to the probation officer within 72 hours of your
02:27:32      5    release, and you will need to engage in the random drug
02:27:39      6    testing through the probation officer at that time.
02:27:41      7               You must cooperate with the collection of a DNA
02:27:46      8    sample and not possess a firearm or destructive device.
02:27:50      9               If you're unemployed after the first 60 days of
02:27:53     10    supervision, then you shall perform at least 20 hours of
02:27:57     11    community service per week.
02:27:57     12               I'm going to order that you participate in the drug
02:28:01     13    aftercare treatment program, both in prison and the supervised
02:28:07     14    release period, and that you participate in the GED
02:28:10     15    preparation course and get your GED during supervision, if you
02:28:12     16    don't get it while you're incarcerated.
02:28:13     17               You're required to provide the probation officer with
02:28:16     18    access to any requested financial information.
02:28:19     19               And you are not allowed to incur any new credit
02:28:23     20    charges or open additional lines of credit within -- without
02:28:27     21    the approval of the probation officer.
02:28:29     22               Now, you can appeal this sentence, and you have
02:28:32     23    fourteen days from the entry of the judgment and conviction
02:28:36     24    order.
02:28:36     25               And is there anything, Ms. Halleran, that I've
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02:28:40      1    forgotten from the probation officer's department?
02:28:41      2               MS. HALLERAN: Not necessarily forgotten, your Honor.
02:28:43      3    Just to clarify. It's the Court's intent that Mr. Collins
02:28:47      4    enters a facility at the Bureau of Prisons that has a
02:28:50      5    residential drug and alcohol treatment program?
02:28:53      6               THE COURT: Well, it's a long sentence, so my guess
02:28:55      7    is, is that it could be at any part along the period of time,
02:28:57      8    so that it is at some point that he is enabled to participate
02:29:00      9    in that.
02:29:01     10               MS. HALLERAN: Thank you, Judge.
02:29:02     11               THE COURT: Okay. Anything from the Government's
02:29:05     12    perspective?
02:29:07     13               MS. GUREN: Just the issue of forfeiture, your Honor.
02:29:07     14               THE COURT: Oh, right. Now, there is a preliminary
02:29:07     15    order of forfeiture here.
02:29:10     16               Do you have a position regarding that? Are you
02:29:12     17    objecting in any way to it, Mr. Rubino?
02:29:14     18               MR. RUBINO: I don't think --
02:29:15     19               THE COURT: I believe that you waived --
02:29:17     20               MR. RUBINO: Yeah.
02:29:17     21               THE COURT: -- the jury's determination, correct?
02:29:20     22               MR. RUBINO: Right.
02:29:21     23               THE COURT: And I didn't hear what you said.
02:29:23     24               MS. GUREN: I believe there's actually not waiver in
02:29:25     25    the situation where it's just monetary funds and not property.
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02:29:28      1               THE COURT: Oh, okay. Well -- oh, but even in a --
02:29:31      2    with the jury's determination of the forfeited amounts? I was
02:29:35      3    referring back to after the jury trial that he had waived the
02:29:38      4    jury's determination of it.
02:29:42      5               (No response.)
02:29:43      6               THE COURT: I believe --
02:29:43      7               MS. GUREN: I don't think that that happened, but I'm
02:29:45      8    under the understanding from research that there's no need --
02:29:48      9               THE COURT: Did you object to the preliminary order?
02:29:50     10               MR. RUBINO: No.
02:29:50     11               THE COURT: You don't?
02:29:52     12               MR. RUBINO: Just being practical.
02:29:53     13               THE COURT: Okay.
02:29:53     14               MR. RUBINO: 30 years from now, I don't think he's
02:29:55     15    going to hit the lottery and have tons of money.
02:30:01     16               THE COURT: Okay. I'm going to enter, there being no
02:30:02     17    objection, the preliminary order of forfeiture, which will be
02:30:05     18    part of this sentence as well.
02:30:06     19               Okay. Anything else from you, Mr. Rubino?
02:30:08     20               MR. RUBINO: Not with respect to sentencing. But I
02:30:10     21    do have something else, when the Court is finished with
02:30:13     22    sentencing to raise.
02:30:14     23               THE COURT: Okay. I'm done with the sentence.
02:30:17     24               MR. RUBINO: Okay. Your Honor, at this time on
02:30:17     25    behalf of Mr. Collins I would like to ask the Court if the
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02:30:19      1    Court would appoint counsel to represent him for the purpose
02:30:22      2    of appeal. I was not hired -- though chosen by Mr. Collins, I
02:30:27      3    was hired by his father. I was paid by his father.
02:30:30      4    Mr. Collins was indigent at the time I was hired. My contract
02:30:34      5    with his father specifically stated that it was for trial
02:30:38      6    purposes only, that it did not -- and it boldly says, It did
02:30:43      7    not include appeals because I don't write appeals.
02:30:44      8               THE COURT: Okay.
02:30:44      9               MR. RUBINO: I made that very clear with the family.
02:30:48     10    Mr. Collins knows that also. He -- and the reason I bring
02:30:50     11    this up now, instead of filing a motion, he's here and the
02:30:52     12    Court may want to inquire about his financial condition to see
02:30:55     13    if he fulfills the appointment of counsel.
02:30:57     14               THE COURT: Isn't it appropriately raised before the
02:31:00     15    Appellate Court?
02:31:00     16               MR. RUBINO: No.
02:31:00     17               THE COURT: It's appropriately raised here?
02:31:03     18               MR. RUBINO: No, not -- at least not in our district.
02:31:05     19    I apologize if it is here, I didn't mean to shout no.
02:31:06     20               THE COURT: Okay. Any position from the Government?
02:31:08     21               MS. GUREN: Your Honor, we would take no position on
02:31:10     22    whether or not he's indigent.
02:31:12     23               THE COURT: Okay. Based upon the fact that he is
02:31:14     24    going to be incarcerated and there's a large forfeiture, I
02:31:18     25    will appoint counsel to him for his appeal and we'll move
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02:31:21      1    forward from there. Okay.
02:31:23      2               MR. RUBINO: Thank you very much, your Honor?
02:31:24      3               THE COURT: All right. Anything else?
02:31:25      4               MR. RUBINO: No.
02:31:25      5               THE COURT: All right. Good luck to you,
02:31:27      6    Mr. Collins.
02:31:28      7               MS. GUREN: Thank you, your Honor.
02:31:31      8               MR. RUBINO: Thank you, your Honor.
02:31:34      9               (Concluded at 2:31 p.m.)
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             16                              C E R T I F I C A T E
             17
             18      I certify that the foregoing is a correct transcript from
             19    the record of proceedings in the above-entitled matter.
             20
             21    /s/April M. Metzler, RPR, CRR, FCRR            September 7, 2011
             22    April M. Metzler, RPR, CRR, FCRR               Date
             23    Official Federal Court Reporter
             24
             25
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